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IN THE UNITED STATES DISTRICT COURT 'h
FoR THE wEsTERN DIsTRIcT oF TENNESSEE 05 AUG 30 PH 5 03

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SAMMIE L. NETTERS, JR., et al.,
Plaintiffs,
No. 04-2396 Ma/P

v-

TENNESSEE DEPT. OF CORRECTION,
et al.,

Defendants.

 

ORDER GRANTING DEFENDANTS TENNESSEE DEPARTMENT OF CORRECTIONS'
AND BRENDA JONES' MOTIONS TO DISMISS, AND DISMISSING WITHOUT
PREJUDICE PLAINTIFFS SAMMIE L. NETTERS’ AND MARCUS LEE'S SUITS

 

Plaintiffs Sammie L. Netters, Jr. (“Netters”), Marcus Lee
(“Lee”), and Constance D. Davison (“Davison”), guardian of Rajai
Davison, next of kin to James Dixon (“Dixon”), deceased
(collectively “the Plaintiffs”), bring this action under 42 U.S.C.
§ 1983, alleging that the Tennessee Department of Corrections
(“TDOC”), 11 TDOC employees, and 5 inmates at the Northwest
Correctional Complex in ‘Tiptonville, Tennessee (the “Northwest
Correctional Complex”), violated the Eighth Amendment rights of
Netters, Lee, and Dixon.1 The Plaintiffs also bring state law
claims under the Tennessee Human Rights Act (the “THRA”), T.C.A. §

4-21~101, §§ seg.

 

1 The Plaintiffs' Complaint refers to the “Southwest Tennessee State
Regional Correctional Facility." According to TDOC, no facility with that name
exists, and, at the relevant time, Netters, Lee, and Dixon were incarcerated at
the Northwest Correctional Complex. (Mem. in Supp. of TDOC'B Mot. to Dis. at 1.)

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with Hu.'e 58 and/or 79(a) FRCP omith

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Before the court is TDOC's November 17, 2004, motion to
dismiss. Also before the court is defendant Brenda Jones'
(“Jones”)2 December 20, 2004, motion to dismiss. On April 5, 2005,
this court entered an order to show cause requiring the Plaintiffs
to respond to TDOC’s and Jones' motions to dismiss within 11 days.
On April 15, 2005, the Plaintiffs filed a “Motion for Extension of
Time to Respond to the Show Cause Order” which was granted on April
19, 2005. On April 22, 2005, Jones filed an “addendum” to her
motion to dismiss raising new legal arguments. On April 25, 2005,
the Plaintiffs filed a response to the show cause order in which
they asked for additional time to obtain initial discovery before
responding to the motions to dismiss. The Plaintiffs also asked the
court for additional time to respond to the addendum to Jones'
motion to dismiss. On July 2, 2005, the court entered an order
denying the Plaintiffs' request for additional time to obtain
initial discovery before responding to the motions to dismiss, but
giving the Plaintiffs until July 5, 2005, to respond to the motions
to dismiss and to Jones’ addendum to her motion to dismiss. The
Plaintiffs never filed a response. For the following reasons, the
court GRANTS TDOC's and Jones' motions to dismiss, and DISMISSES

Netters' and Lee's suits without prejudice.

 

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Jones, the Associate Warden of Operations at the Northwest Correctional
Complex, is one of the 11 TDOC officials named as a defendant in the Complaint.
(Compl. at n ll.)

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I. Jurisdiction

Because this case arises under federal law, the court has
jurisdiction under 28 U.S.C. § 1331. The court has supplemental
jurisdiction to adjudicate state law claims arising out of a common
nucleus of operative facts under 28 U.S.C. § l367(a).

II. Background

The following facts are taken from the Complaint. Although not
explicitly stated in the Complaint, the court has inferred from the
parties' filings that Netters, Lee and Dixon were inmates in the
Northwest Correctional Complex when the events described in the
Complaint occurred. Netters and Lee are black. (Compl. at jj 5, 6.)
The Complaint does not state Dixon's race.

On Saturday, May 24, 2003, Paul Hayes (“Hayes”), an inmate in
the Northwest Correctional Complex, approached Netters “on the unit
yard and made various threats.” (Id. at jj 19, 24.) Netters
informed officers at the Northwest Correctional Complex of the
threats and told them that Hayes, and other members of his gang,
might possess “shanks.” (Id. at j 24.) On Sunday May 25, 2005, two
of the gang members were searched and were found to have “shanks.”
(Id.) Other known members of the same gang were allowed to return
to their cells without being searched. (Id.)

Around 7:30 a.m. on May 26, 2003, Hayes and another gang
member forced their way into Netters' cell. (Id.) Hayes questioned

Netters about reporting to prison officials that two of Hayes'

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fellow gang members were in possession of “shanks.” (Id.) Following
the questioning, Hayes signaled to several of his fellow gang
members, who then forced their way into the cell. (Id.) The gang
members used “shanks" to assault Netters, Lee, and Dixon. (Id.)
Dixon was stabbed 18 times and died immediately. (Id.) Netters was
stabbed in the head. (Id.) Lee was stabbed 5 times. (Id.) Officer
Billy Stewart was on-duty, but made no attempt to end the attack.
(Id.) The gang members should not have been in the part of the
prison containing Netters' cell, but had been permitted to enter by
prison officials. (Id.)

III. Standard of Review For Dismissal Under Rule 12(b){6)

“Under the liberal notice pleading rules, a complaint need
only put a party on notice of the claim being asserted against it
to satisfy the federal rule requirement of stating a claim upon
which relief can be granted.” Memphisl Tenn. Area Locall Am. Postal
Workers' Union, AFL-CIO v. Citv of Memphis, 361 F.3d 898, 902 (6th
Cir. 2004). When considering a motion to dismiss for failure to
state a claim, the court regards all factual allegations in the
complaint as true. Scheid v. Fanny Farmer Candy Shopsl Inc., 859
F.2d 434, 436 (6th Cir. 1988). Further, the court must construe the
complaint in the light most favorable to the plaintiffs.” Memphisl
Tenn. Area Local, Am. Postal Workers' Union, 361 F.3d at 902. If
the plaintiff can prove no set of facts that would entitle him to

relief based on a viable legal theory, the claim will be dismissed.

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Scheid, 859 F.2d at 437.

“The Federal Rules of Civil Procedure do not require a
claimant to set out in detail all the facts upon which he bases his
claim.” Conlev' v. Gibson, 355 U.S. 41, 47 (1957). “To avoid
dismissal under Rule 12(b)(6), a complaint must contain either
direct or inferential allegations with respect to all material
elements of the claim.” Wittstock v. Mark a Van Sile. Inc., 330
F.Bd 889, 902 (6th Cir. 2003).

IV. Analysis

A. Netters' and Lee's Claims

The Prison Litigation Reform Act of 1995 (PLRA), 42 U.S.C. §
1997e(a), “requires the exhaustion of all ‘available’ state
‘administrative remedies' by [a] prisoner before a federal court
may entertain and decide his § 1983 action.” Brown v. Toombs, 139
F.3d 1102, 1103 (6th Cir. 1998). The exhaustion requirement
“applies to all inmate suits about prison life, whether they
involve general circumstances or particular episodes, and whether
they allege excessive force or some other wrong.” Porter v. Nussle,
534 U.S. 516, 532 (2002).

In the Sixth Circuit, “prisoners filing § 1983 cases involving
prison conditions must allege and show that they have exhausted all
available state administrative remedies. A prisoner should attach
to his § 1983 complaint the administrative decision, if it is

available, showing the administrative disposition. of his

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complaint.” §;gwn, 139 F.3d at 1104. “In the absence of
particularized averments concerning exhaustion showing the nature
of the administrative proceeding and its outcome, the action must
be dismissed under § 1997e. A dismissal under § 1997e should be
without prejudice.” Bovd v. Corrections Corp. of America, 380 F.3d
989, 994 (6th Cir. 2004) (internal citations omitted). “District

courts should enforce the exhaustion requirement sua sponte if not

 

raised by the defendant.” Brown, 139 F.3d at 1104.

The record contains no indication that Netters and Lee are not
currently incarcerated. Thus, the PLRA appears to apply to Netters'
and Lee's § 1983 claims.3 The Plaintiffs' Complaint does not aver
that Netters and Lee have exhausted their state administrative
remedies and does not contain attachments showing the outcome of
administrative decisions. Because Netters and Lee have not complied
with § 1997e of the PLRA the court dismisses their § 1983 claims
against all the defendants without prejudice.

“A district court has broad discretion in deciding whether to
exercise supplemental jurisdiction over state law claims.” Musson
Theatrical, Inc. v. Federal Express Corp., 89 F.3d 1244, 1254 (6th
Cir. 1996) (citation omitted). “The district courts may decline to
exercise supplemental jurisdiction over a claim under subsection

(a) if ... (3) the district court has dismissed all claims over

 

3The PLRA is inapplicable to suits brought by non-prisoners. Cox v. Mayer,
332 F.3d 422, 424 (6th Cir. 2003). Therefore, the § 1983 claim brought by
Davison, on behalf of plaintiff Rajai Davison, Dixon's next of kin, is not barred
for failure to exhaust state administrative remedies.

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which it has original jurisdiction." 28 U.S.C. § 1367(€)(3).
Consequently, “When all federal claims are dismissed before trial,
the balance of considerations usually will point to dismissing the
state law claims, or remanding them to state court if the action
was removed.” ldL at 1254-55 (citing Carneqie-Mellon Univ. v.
Cohill, 484 U.S. 343, 350 n. 7 (1988)); §§e_gl§g §;ggd§nbu;g_yp
Housinq Authoritv of lrvine, 253 F.3d 891 (6th Cir. 2001) (“ln
fact, the usual course is for the district court to dismiss
state-law claims without prejudice if all federal claims are
disposed of on summary judgment.”). The only federal claims raised
by Netters and Lee are their § 1983 claims. Because the court has
dismissed all of their federal claims the court declines to
exercise supplemental jurisdiction over their remaining state law
claims and dismisses those claims without prejudice.

B. Davison's § 1983 Claim Against TDOC

“Section 1983 provides a federal forum to remedy many
deprivations of civil liberties, but it does not provide a federal
forum for litigants who seek a remedy against a State for alleged
deprivations of civil liberties. The Eleventh Amendment bars such
suits unless the State has waived its immunity ... or unless
Congress has exercised its undoubted power under § 5 of the
Fourteenth Amendment to override that immunity.” will v. Michigan
Dept. of State Police, 491 U.S. 58, 66 (1989) (citing Welch v.

Texas Dept. of Hiqhwavs and Public Transportation, 483 U.S. 468,

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472-473 (1987) (plurality opinion)). TDOC is a department of the
state of Tennessee. Consequently, TDOC is immune from suit under §
1983 and the court grants TDOC's motion to dismiss Davison's § 1983
claim against TDOC. See, e.q., Hinds v. State of Tenn., 888 F.Supp.
854, 857 (W.D. Tenn. 1995) (holding that the Eleventh Amendment
barred a plaintiff's § 1983 claim against the Tennessee Board of
Paroles).

C. Davison's § 1983 Claim Against Jones

A plaintiff bringing suit under § 1983 must show both “the
deprivation of a right secured by the Constitution or laws of the
United States” and that “the deprivation was caused by a person
acting under color of law.” Street v. Corrections Corp. of Am.,
102 F.3d 810, 814 (6th Cir. 1996)(internal quotations and citations
omitted). In this case, Davison alleges that Jones deprived Dixon
of his Eighth Amendment rights. The Eighth Amendment provides that
“cruel and unusual punishments” shall not be inflicted. U.S. Const.
Amend. VIII. It imposes a duty upon prison officials to provide
humane conditions of confinement. See Farmer v. Brennan, 511 U.S.
825, 832 (1994). “Prison officials also have a duty ... to protect
prisoners from violence at the hands of other prisoners.” ld; at
833. However, not “every injury suffered by one prisoner at the
hands of another ... translates into constitutional liability for
prison officials responsible for the victim's safety.” ld; at 834.

A prison official violates the Eighth Amendment only when two

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requirements are met. First, “the inmate must show that he is
incarcerated under conditions posing a substantial risk of serious
harm.” l_d4 (citing Helling v. McKinnev, 509 U.S. 25, 35 (1993)).
Second, a prison official must have a “sufficiently culpable state
of mind.” ld; (citations omitted). In prison~conditions cases, that
state of mind is one of “deliberate indifference” to inmate health
or safety. ld; at 828, 834.

Under the deliberate indifference standard, a prison official
may be held liable under the Eighth Amendment for denying humane
conditions of confinement only if he knows that inmates face a
substantial risk of serious harn\ and. disregards that risk. by
failing to take reasonable measures to abate it. ld; at 847. A
prison official is not free to ignore obvious dangers to inmates
and may be liable even if he does not know the exact nature of the
harm that may befall a particular inmate. gee id; at 843-44.
Whether a prison official had the requisite knowledge of a
substantial risk is a question of fact subject to demonstration by
either direct evidence or by inference from circumstantial
evidence, and the trier of fact “may conclude that a prison
official knew of a substantial risk from the very fact that the
risk was obvious.” ld; at 842.

Therefore, the elements Davison must prove to make out a §
1983 claim against Jones are that there was a substantial risk of

serious harm to Dixon, Jones knew of the risk, and Jones

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disregarded that risk. To survive Jones' motion to dismiss, the
Complaint must contain. direct or inferential allegations with

respect to each of these elements. Wittstock, 330 F.3d at 902. The

 

Complaint alleges that prison officials knew who the members of
Hayes’ gang were and that some of the gang members possessed
“shanks.” but did not search all the gang members for “shanks.” The
Complaint also alleges that prison officials were aware that Hayes
had threatened Netters and that prison officials had allowed Hayes
and his gang members to enter the portion of the prison housing
Netters, Lee, and Dixon. The Complaint, however, does not state
explicitly or implicitly that there was a substantial risk of harm
to Dixon and that prison officials knew of that risk. The Complaint
gives no explanation about why Dixon was present in Netters' cell
at the time of the attack or why Hayes' gang nembers attacked
Dixon.

Officials are prohibited from placing inmates in harm's way
gratuitously, but, as the Seventh Circuit has stated, “[t]he
qualification ‘gratuitously' is important, because prisons are
dangerous places. Inmates get there by violent acts, and many
prisoners have a propensity to commit more.” Riccardo v. Rausch,
359 F.3d 510, 514 (7th Cir. 2004). Because the Complaint does not
contain direct or inferential allegations that there was a
substantial risk of serious harm to Dixon, and that Jones, or other

prison officials, knew of the risk, the court grants Jones' motion

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to dismiss Davison's § 1983 claim against Jones.

D. Davison's THRA Claim Against TDOC and Jones

The THRA prohibits discrimination because of “race, creed,
color, religion, sex, age or national origin.” T.C.A. § 4-21-
101(a)(3). The Complaint does not state that Dixon was
discriminated against for any of these reasons. The Complaint
states that Netters and Lee are black, but does not state Dixon’s
race. Consequently, Davison has failed to state a claim under the
THRA against TDOC or Jones for which relief can be granted. The
court grants TDOC's and Jones' motions to dismiss Davison's THRA
claims against TDOC and Jones.
V. Conclusion

For the foregoing reasons, the court GRANTS defendants
Tennessee Department of Corrections' and Brenda Jones' motions to
dismiss. In addition, plaintiffs Sammie Netters' and Marcus Lee’s

Suits are DISMISSED WITHOUT PREJUDICE.

So ordered this q'q w`day of August 2005.

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SAMUEL H. MAYS, JR.
UNITED STATES DISTRICT JUDGE

 

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